                                       UNITED STATES BANKRUPTCY COURT
                                        EASTERN DISTRICT OF MICHIGAN

         Jeffery A. Bouchard                                            CHAPTER 13
In re:   Tracey L. Bouchard                                                                15-56691
                                                          ,             CASE NO:
                         Debtor(s).                                     JUDGE              Walter Shapero
                                                          /

                                             ORDER CONFIRMING PLAN

        The Debtor(s)' Chapter 13 plan was duly served on all parties in interest. A hearing on confirmation of the plan
was held after due notice to parties in interest. Objections, if any, have been resolved. The Court hereby finds that each of
the requirements for confirmation of a Chapter 13 plan pursuant to 11 USC §1325(a) are met.

         Therefore, IT IS HEREBY ORDERED that the Debtor(s)' Chapter 13 plan, as last amended, if at all, is confirmed.

         IT IS FURTHER ORDERED that the claim of Babut Law Office, P.L.L.C., Attorney for the Debtor(s), for the
allowance of compensation and reimbursement of expenses is allowed in the total amount of $ 3,500.00 in fees and $ 25.00
[credit counseling] in expenses, and that the portion of such claim which has not already been paid, to-wit: $ 3,025.00
shall be paid by the Trustee as an administrative expense of this case.

       IT IS FURTHER ORDERED that the Debtor(s) shall maintain all policies of insurance on all property of the
Debtor(s) and this estate as required by law and contract.

         All filed claims to which an objection has not been filed are deemed allowed pursuant to 11 USC §502(a), and the
Trustee is therefore ORDERED to make distributions on these claims pursuant to the terms of the Chapter 13 plan, as well
as all fees due the Clerk pursuant to statute.

         IT IS FURTHER ORDERED as follows: [Only provisions checked below apply]

    The Debtor(s) shall remit       % of all tax refunds to which Debtor(s) is/are entitled during the pendency of the Plan
    and shall not alter withholdings without Court approval.

    The Debtor(s)' Plan shall continue for no less than             months.

    The claim of                                                              shall be paid in accordance with its duly filed
    claim unless otherwise ordered by the Court.

    The Debtor(s)' Plan payments shall be increased to $125.67 per week effective the 11th day of April, 2016.

    Creditor's rights to object to the last filed Amended Plan are preserved until                              .

    Other:

Objections Withdrawn
For Creditor
For Creditor

Approved:

/s/ Tammy L. Terry                                                  /s/ Thomas Paluchniak
Tammy L. Terry                                                      Thomas Paluchniak P70284
Chapter 13 Standing Trustee                                         Attorney for Debtor(s)




             15-56691-mlo      Doc 38      Filed 04/15/16       Entered 04/15/16 08:02:20            Page 1 of 2
Signed on April 15, 2016
                                                   ____ __/s/ Walter Shapero_    ___
                                                      Walter Shapero
                                                      United States Bankruptcy Judge




      15-56691-mlo   Doc 38   Filed 04/15/16   Entered 04/15/16 08:02:20   Page 2 of 2
